                UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                   WINSTON-SALEM DIVISION




FEDERAL TRADE COMMISSION,
STATE OF CALIFORNIA, STATE OF
COLORADO, STATE OF ILLINOIS,
STATE OF INDIANA, STATE OF IOWA,
STATE OF MINNESOTA, STATE OF
NEBRASKA, STATE OF OREGON,
STATE OF TENNESSEE, STATE OF           Case No. 1:22-cv-00828-TDS-JEP
TEXAS, STATE OF WASHINGTON, and
STATE OF WISCONSIN,                    JOINT STATUS REPORT
           Plaintiffs,
     v.
SYNGENTA CROP PROTECTION AG,
SYNGENTA CORPORATION,
SYNGENTA CROP PROTECTION, LLC,
and CORTEVA, INC.,
           Defendants.




  Case 1:22-cv-00828-TDS-JEP   Document 333   Filed 07/14/25   Page 1 of 6
       Pursuant to the Court’s June 20, 2025 order, Plaintiffs Federal Trade Commission

and the states of California, Colorado, Illinois, Indiana, Iowa, Minnesota, Nebraska,

Oregon, Tennessee, Texas, Washington, and Wisconsin, acting by and through their

respective Attorneys General (“Plaintiffs”); Defendants Syngenta Crop Protection AG,

Syngenta Corporation, Syngenta Crop Protection, LLC (collectively, “Syngenta”); and

Defendant Corteva, Inc. (together with Plaintiffs and Syngenta, the “Parties”) have met

and conferred and hereby submit this Joint Status Report in advance of the July 16, 2025

hearing.

       Motion To Compel. On July 7, 2025, Plaintiffs and Syngenta discussed via

videoconference the three requests for admission at issue in Plaintiffs’ motion to compel

(Doc. 322). Plaintiffs asked whether Syngenta would amend its responses to those

requests to provide partial admissions, partial denials, and qualifications in the manner

Plaintiffs described in their reply brief. See Doc. 330 at 5–6. On July 8, Syngenta

informed Plaintiffs that it would not do so. Syngenta indicated that it disagrees with

Plaintiffs’ apparent interpretation of Federal Rule of Civil Procedure 36. In Syngenta’s

view, Plaintiffs’ standard seemingly requires a party to respond not to the request as

written, but to the request as it may be interpreted in any manner to arrive at something

that may be admitted. Plaintiffs and Syngenta remain at impasse with respect to the

requests for admission at issue.




                                             1


    Case 1:22-cv-00828-TDS-JEP         Document 333       Filed 07/14/25    Page 2 of 6
Dated: July 14, 2025                   Respectfully submitted,

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                                            2


   Case 1:22-cv-00828-TDS-JEP         Document 333      Filed 07/14/25      Page 3 of 6
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                                                3


    Case 1:22-cv-00828-TDS-JEP             Document 333     Filed 07/14/25     Page 4 of 6
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                                               4


    Case 1:22-cv-00828-TDS-JEP         Document 333        Filed 07/14/25     Page 5 of 6
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                                           5


  Case 1:22-cv-00828-TDS-JEP       Document 333         Filed 07/14/25    Page 6 of 6
